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                                                                                 2020 Jul-20 AM 10:52
                                                                                U.S. DISTRICT COURT
                                                                                    N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

JOAN EHLMAN,                          )
                                      )
      PLAINTIFF,                      )
                                      )
v.                                    )      CIVIL ACTION NUMBER:
                                      )      JURY TRIAL DEMANDED
FIRST FINANCIAL ASSET                 )
MANAGEMENT, INC.;                     )
UPLIFT, INC.                          )
                                      )
      DEFENDANTS.                     )


                                  COMPLAINT


      This is an action brought by the Plaintiff, Joan Ehlman, for actual and

statutory damages, attorney’s fees, and costs for Defendant First Financial Asset

Management, Inc.’s violations of the Fair Debt Collections Practices Act, 15

U.S.C. § 1692 et seq. (hereinafter “FDCPA”).

      Plaintiff also seeks compensatory and punitive damages for the Defendants’

violations of Alabama’s common laws set forth herein.

                         JURISDICTION AND VENUE

      This Court has jurisdiction under 15 U.S.C. §1692k (d), and 28 U.S.C.

§1331, §1332, and §1367. Venue is proper in that at all relevant times the

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Defendants transacted business here, and the Plaintiff resides here.

                         STATEMENT OF THE PARTIES

      1.       Plaintiff, Joan Ehlman, is over the age of nineteen (19) years and is a

               resident of the city of Helena in Shelby County, Alabama. Plaintiff is

               a “consumer” as defined in the Fair Debt Collection Practices Act

               (“FDCPA”).

      2.       Defendant First Financial Asset Management, Inc. (hereinafter

               “FFAM”) is and at all times pertinent herein was, a foreign

               corporation or other legal entity organized under the laws of the State

               of Delaware with its principal place of business in Atlanta, Georgia.

      3.       FFAM is engaged in the business of collecting debts owed to others

               and incurred for personal, family or household purposes. FFAM uses

               the mails and telephone in and about its efforts to collect debt.

      4.       FFAM is a debt collector as that term is defined by the Fair Debt

               Collection Practices Act at 15 U.S.C. §1692(a)(6).

      5.       Defendant Uplift, Inc. (hereinafter “Uplift”) is and at all times

               pertinent herein was, a foreign corporation or other legal entity

               organized under the laws of the State of Delaware with its principal

               place of business in Menlo Park, California.

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6.       All events herein occurred in Shelby County, Alabama.

                        STATEMENT OF FACTS

                                Background

7.       On or about January 14, 2020, Plaintiff booked a cruise on Carnival

         Cruise Lines scheduled to depart in March 2020. Defendant Uplift

         provided Plaintiff with financing for the cruise. Specifically, Uplift

         financed $2,935.84.

8.       Plaintiff made payments to Uplift in the amount of $1,623.00 on

         February 18, 2020 and $1,379.39 on February 21, 2020.

9.       Plaintiff’s account with Uplift was marked as “paid in full” on

         February 21, 2020.

10.      The cruise was moved to May 2020 and then subsequently was

         cancelled by Carnival on or about April 13, 2020.

11.      When the cruise was cancelled, Plaintiff contacted Defendant Uplift

         and Carnival and requested a full refund. An employee or agent of

         Uplift who spoke with the Plaintiff informed her that Uplift would not

         give her a refund until Uplift received a refund from Carnival.

12.      Plaintiff then contacted Carnival and was told that it could take 90

         days to refund any money to Uplift.

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13.   Plaintiff attempted again to get a refund from Uplift but Uplift

      refused to refund Plaintiff her money.

14.   As such on or about June 8, 2020, Plaintiff contacted her financial

      institution and disputed the money paid to Uplift on the grounds that

      she paid for services that she did not receive.

15.   On or about June 9, 2020, Plaintiff’s financial institution deposited

      provisional funds into her account for the money paid to Uplift.

16.   On or about June 12, 2020, Uplift sent Plaintiff an email regarding a

      notice of charge back sent by Plaintiff’s financial institution. Plaintiff

      checked her Uplift account. Plaintiff’s Uplift account was falsely

      noted as being 120 days “past due” and stated that Plaintiff owed

      Uplift $3,244.00. This amount was the original principal along with

      approximately six months of accrued interest. This interest was

      added and the account marked as 120 days past due by Uplift despite

      the fact that Uplift marked the account “paid in full” as of February

      21, 2020. Uplift also marked the account as sent to collections.

17.   Upon seeing this, Plaintiff called Uplift several times in an attempt to

      get information about why the account was being shown as 120 days

      past due and sent to collections. Uplift’s employees or agents would

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      not discuss the account with the Plaintiff allegedly because it was in

      collections.

18.   On June 16, 2020, Uplift emailed the Plaintiff to inform her that

      Carnival paid Uplift $2,935.84, the original amount financed by the

      Plaintiff, and informed the Plaintiff that the amount of $2,935.84 was

      applied to her account with Uplift.

19.   After receiving the June 16, 2020 email, Plaintiff checked her Uplift

      account. The account continued to state that it was 120 days past due,

      in collections and was “charged off.” The balance on the Uplift

      account at that time was $308.00.

20.   On June 22, 2020, Plaintiff again called Uplift but the employee or

      agent she spoke with declined to discuss the account due to its being

      in collections. Plaintiff then called Defendant FFAM, the debt

      collector hired or retained by Uplift. Plaintiff was told by an

      employee or agent of FFAM that Uplift placed the account with

      FFAM for collections on or about June 15, 2020 and falsely claimed

      that the balance on the account was $3,244.08. FFAM was

      attempting to collect $3,244.08 from Plaintiff despite the fact that

      Uplift received $2,935.84 from Carnival and despite the fact that

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      Plaintiff had previously paid the account off in full.

21.   On June 24, 2020, Plaintiff received an email from Rosa Stanley, a

      “Customer Support Manager” at Uplift. That email stated that when

      the payments were disputed, the account was marked as 120 days past

      due, was “charged off” as unpaid and was “automatically sent to

      collections.” The email further stated that there was a balance due on

      the Uplift account of $308.24. The email also stated that even if

      Plaintiff made addtional payments the account was remain as

      “charged off.”

22.   On or about June 29, 2020, the Uplift account was still showing as

      120 days past due, as being charged off, and as being in collections.

23.   On or about June 29, 2020, Plaintiff received a phone call from

      FFAM. In the call, the debt collector stated that the Uplift account

      was turned over to collections on June 15, 2020, that the amount

      being collected was $3,244.08 and asked Plaintiff when she would be

      making payments.

24.   To date, FFAM continues to attempt to collect $3,244.08 from the

      Plaintiff even though Uplift received $2,935.84 from Carnival and

      Uplift itself claims it is owed $308.24. Upon information and belief,

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         the $308.24 consists of interest that Uplift falsely claims accrued after

         the account was “paid in full” on February 21, 2020.

   25.   Despite the first contact with Plaintiff being on or about June 22,

         2020, Defendant FFAM has failed to send Plaintiff the written notice

         required by the Fair Debt Collection Practices Act.

                          CAUSES OF ACTION

                       COUNT ONE
VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT15
                    U.S.C. § 1692 et seq.

   26.   Plaintiff incorporates by reference all of the above paragraphs of this

         Complaint as though fully stated herein.

   27.   The foregoing acts and omissions of Defendant FFAM and its

         employees and agents constitute numerous and multiple violations of

         the FDCPA, 15 U.S.C. § 1692 et seq., with respect to Plaintiff. These

         violations include but are not limited to violations of

         §§ 1692e(2)(A), 1692e(10), 1692f and 1692g(a).

   28.   As a direct and proximate result of the wrongful conduct visited upon

         Plaintiff by FFAM in its collection efforts, Plaintiff suffered actual

         damages including, but not limited to, worry, stress, anxiety,

         embarrassment, physical pain, mental anguish and emotional distress.

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29.   As a result of Defendant FFAM’s violations of the FDCPA, Plaintiff

      is entitled to actual damages in an amount to be determined by a

      struck jury pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in

      an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A);

      and, reasonable attorney’s fees and costs pursuant to 15 U.S.C. §

      1692k(a)(3), from Defendant.

                             COUNT TWO
                             NEGLIGENCE

30.   Plaintiff incorporates by reference all of the above paragraphs of this

      Complaint as though fully stated herein.

31.   The Defendants knew or should have known of the conduct set forth

      herein which was directed at and visited upon Plaintiff.

32.   The Defendants knew or should have known that said conduct was

      improper and violated the law. Additionally the Defendants owed a

      duty to the Plaintiff which Defendants breached causing Plaintiff

      harm.

33.   The Defendants negligently failed to train and/or negligently failed to

      supervise their employees or agents in order to prevent said improper

      and illegal conduct.


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34.   Defendant FFAM negligently failed to train and supervise its

      collectors with regard to the requirements and prohibitions of the

      FDCPA.

35.   Defendant Uplift negligently placed this debt for collection.

36.   Defendant Uplift negligently failed to inform FFAM that it received a

      credit from Carnival and applied that credit to the balance allegedly

      owed by the Plaintiff. As such, Defendant FFAM continues to

      wrongfully attempt to collect an incorrect amount from the Plaintiff.

37.   Defendant Uplift negligently put into place policies and procedures

      that allow accounts that have been paid in full to be assigned a status

      of 120 days past due, to be put into collections, to be assessed interest

      that is not owed and to be charged off.

38.   Defendant Uplift negligently put into place policies and procedures

      that do not allow its employees to undo or correct the status of

      accounts such as the Plaintiffs once the account has been assigned a

      status of 120 days past due, put into collections and assessed interest

      that is not owed and charged off.

39.   As a proximate result of Defendants’ negligence, Plaintiff suffered

      harm.

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                          COUNT THREE
                          WANTONNESS

40.   Plaintiff incorporates by reference all of the above paragraphs of this

      Complaint as though fully stated herein.

41.   The Defendants knew or should have known of the conduct set forth

      herein which was directed at and visited upon Plaintiff.

42.   The Defendants knew or should have known that said conduct was

      improper and violated the law.

43.   The Defendants recklessly and wantonly failed to train and/or

      recklessly and wantonly failed to supervise their employees or agents

      in order to prevent said improper and illegal conduct.

44.   Defendant FFAM recklessly and wantonly failed to train and

      supervise its collectors with regard to the requirements and

      prohibitions of the FDCPA.

45.   Defendant Uplift recklessly and wantonly placed this debt for

      collection.

46.   Defendant Uplift recklessly and wantonly failed to inform FFAM that

      it received a credit from Carnival and applied that credit to the

      balance allegedly owed by the Plaintiff. As such, Defendant FFAM


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      continues to wrongfully attempt to collect an incorrect amount from

      the Plaintiff.

47.   Defendant Uplift recklessly and wantonly put into place policies and

      procedures that allow accounts that have been paid in full to be

      assigned a status of 120 days past due, to be put into collections, to be

      assessed interest that is not owed and to be charged off.

48.   Defendant Uplift recklessly and wantonly put into place policies and

      procedures that do not allow its employees to undo or correct the

      status of accounts such as the Plaintiffs once the account has been

      assigned a status of 120 days past due, put into collections and

      assessed interest that is not owed and charged off.

49.   As a result of Defendants’ reckless and wanton conduct, Plaintiff

      suffered harm including but not limited to worry, embarrassment,

      humiliation, anxiety and mental anguish among other personal

      injuries.

                       Respondeat Superior Liability

50.   At all times relevant herein, Defendant FFAM and its employees and

      agents acted as the agent of Defendant Uplift. The acts and omissions

      of Defendant FFAM and its employees and agents were committed

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             within the scope of FFAM’s agency relationship with Uplift.

      51.    The acts and omissions by FFAM and its employees and agents were

             incidental to, or of the same general nature as, the responsibilities FFAM

             was authorized to perform by Defendant Uplift in the collection of

             consumer debts such as the consumer debts allegedly owed by the

             Plaintiff.

      52.    By committing these acts and omissions against the Plaintiff, Defendant

             FFAM’s agents and employees were motivated to benefit FFAM’s

             principal, Defendant Uplift.

      53.    Defendant Uplift is therefore liable to Plaintiff through the Doctrine of

             Respondeat Superior for the intentional and negligent acts, errors, and

             omissions done in violation of state and federal law by its agent, FFAM,

             in and about FFAM’s attempts to collect the alleged debt from the

             Plaintiff.

      WHEREFORE, PREMISES CONSIDERED, Plaintiff claims damages of

the Defendants, jointly and severally, in both compensatory and punitive damages,

plus interest, costs, reasonable attorney’s fees and any such other and further relief

as this court deems proper and/or necessary.

      In addition to the above, Plaintiff further demands declaratory judgment that

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Defendant FFAM’s conduct violated the FDCPA, statutory damages in the amount

of $1,000.00 for the violations of the FDCPA pursuant to 15 U.S.C. § 1692k and

costs and reasonable attorneys’ fees from FFAM for its violations of the FDCPA

pursuant to 15 U.S.C. § 1692k.

          PLAINTIFF DEMANDS A TRIAL BY STRUCK JURY.



                                          /s/ W. Whitney Seals
                                          W. WHITNEY SEALS,
                                          Attorney for Plaintiff


OF COUNSEL:

COCHRUN & SEALS, LLC
P. O. Box 10448
Birmingham, AL 35202-0448
Telephone: (205) 323-3900
Facsimile: (205) 323-3906
filings@cochrunseals.com


PLAINTIFF’S ADDRESS:
Joan Ehlman
103 Cedar Bend Dr.
Helena, AL 35080




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PLEASE SERVE THE DEFENDANTS BY CERTIFIED MAIL, RETURN
RECEIPT REQUESTED TO THE FOLLOWING ADDRESSES:

FIRST FINANCIAL ASSET MANAGEMENT, INC.
C/O Registered Agent
Corporation Service Company
641 South Lawrence Street
Montgomery, AL 36104

UPLIFT, INC.
C/O Registered Agent
Vcorp Agent Services, Inc.
3867 Plaza Tower Dr., 1st Floor
Baton Rouge, LA 70816




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